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UNITED STATES DISTRICT COURT

  

 

   

DISTRICT OF NEVADA
UNITED STATES OF AMERICA, 2:20-CR-259-JCM-
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Plaintiff, Preliminary Order offF orfeit@iteRicr OF yeyana

Vv.
RONALD MYERS,
Defendant.

 

 

 

This Court finds Ronald Myers pled guilty to Count One of a One-Count Criminal
Indictment charging him with felon in possession of a firearm in violation of 18 U.S.C. §
922(g8)(1). Criminal Indictment, ECF No. 1; Change of Plea, ECF No. 24; Plea Agreement,
ECF No.28.

This Court finds Ronald Myers agreed to the forfeiture of the property set forth in the
Plea Agreement and the Forfeiture Allegation of the Criminal Indictment. Criminal
Indictment, ECF No. 1; Change of Plea, ECF No.2?4; Plea Agreement, ECF NoZ4.

This Court finds, pursuant to Fed, R. Crim. P. 32.2(b)(1) and (b)(2), the United
States of America has shown the requisite nexus between property set forth in the Plea
Agreement and the Forfeiture Allegation of the Criminal Indictment and the offense to
which Ronald Myers pled guilty.

The following property is any firearm or ammunition involved in or used in any
knowing violation of 18 U.S.C. § 922(g)(1) and is subject to forfeiture pursuant to 18 U.S.C.
§ 924(d)(1) with 28 U.S.C. § 2461(c):

1. Sig Sauer P250 .45 caliber handgun, bearing serial number EAK004537;
2. a7-.45 round magazine;
3. seven .45 caliber rounds of ammunition; and
4. any and all compatible ammunition
(all of which constitutes property).
This Court finds that on the government’s motion, the Court may at any time enter

an order of forfeiture or amend an existing order of forfeiture to include subsequently

 

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located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and
32.2(b)(2)(C).

This Court finds the United States of America is now entitled to, and should, reduce
the aforementioned property to the possession of the United States of America.

NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
DECREED that the United States of America should seize the aforementioned property.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all possessory
rights, ownership rights, and all rights, titles, and interests of Ronald Myers in the
aforementioned property are forfeited and are vested in the United States of America and
shall be safely held by the United States of America until further order of the Court.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States
of America shall publish for at least thirty (30) consecutive days on the official internet
government forfeiture website, www. forfeiture.gov, notice of this Order, which shall
describe the forfeited property, state the time under the applicable statute when a petition
contesting the forfeiture must be filed, and state the name and contact information for the
government attorney to be served with the petition, pursuant to Fed. R. Crim. P. 32.2(6)(6)
and 21 U.S.C. § 853(n)(2). In the alternative, if the value of the property is less than $1,000,
the government may instead serve every person reasonably identified as a potential claimant
in lieu of publication pursuant to Fed. R. Crim. P. 32.2(b)(6)(C) with Fed. R. Civ. P. Supp.
Rule G(4)(a)G@)(A).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual
or entity who claims an interest in the aforementioned property must file a petition for a
hearing to adjudicate the validity of the petitioner’s alleged interest in the property, which
petition shall be signed by the petitioner under penalty of perjury pursuant to 21 U.S.C. §
853(n)(3) and 28 U.S.C. § 1746, and shall set forth the nature and extent of the petitioner’s
right, title, or interest in the forfeited property and any additional facts supporting the

petitioner’s petition and the relief sought.

 
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IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any,
must be filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas,
Nevada 89101, no later than thirty (30) days after the notice is sent or, if direct notice was
not sent, no later than sixty (60) days after the first day of the publication on the official
internet government forfeiture site, www.forfeiture.gov.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the
petition, if any, shall be served upon the Asset Forfeiture Attorney of the United States

Attorney’s Office at the following address at the time of filing:

Daniel D. Hollingsworth

Assistant United States Attorney

James A. Blum

Assistant United States Attorney

501 Las Vegas Boulevard South, Suite 1100
Las Vegas, Nevada 89101.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice
described herein need not be published in the event a Declaration of Forfeiture is issued by
the appropriate agency following publication of notice of seizure and intent to
administratively forfeit the above-described property.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send
copies of this Order to all counsel of record.

DATE (" ~, 2021.

J C. MAHAN
UNITELSSTATES DISTRICT JUDGE

 
